Case 1:05-cv-01210-.]DT-STA Document 13 Filed 08/16/05 Page 1 of 4 Page|D 4

£Z'é`@@ _

)|,'
IN THE UNiTED sTATEs oisTRiCT CoURT 054 §
FoR THE WESTERN DisTRICT oF TENNESSEE /6 <).Q
EASTERN DivlsioN CL_<;§ ,”’;V, ,

TILDA N. SIMMONS,
Plaintiff,
VS. No. 05-1210-'1`/An

MERCK & CO., INC., ET AL.,

`~`/\_/\_/"-._/\_/\_/\_,/\-_/\_/

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiff Tilda N. Simrnons filed this action in the Circuit Court ofCrockett County,
Tennessee, on June 20, 2005, against Merck and Company, Inc., maker of the prescription
drug known as Vioxx. Plaintiff also married as defendants certain local Merck sales
representatives and pharmacists. Merck removed the action to this Court on July 25, 2005,
on the basis of diversity of citizenship, contending that the non-diverse defendants Were
fraudulently joined in an attempt to defeat diversity jurisdiction

Also on July 25, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Mu]tidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

This document entered on the docket h ;_?‘\ com§llance
with Hule 58 and' or _79 (a) FF\CP on

Case 1:05-cv-01210-.]DT-STA Document 13 Filed 08/16/05 Page 2 of 4 Page|D 5

Liability Litigation. Plaintiff filed a motion to remand the action to state court on August
4, 2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16_, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., 111 re Ivy, 901 F.Zd

7 (Zd Cir. 1990); 111 re Prudemial Insumnce Company OfAmerl`ca Sales

Pmctices Litigatz'on, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.l\/I.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiff"s motion to remand, w JPML R. 1.5. The decision Whether
to grant a stay is Within the inherent power of the Court and is discretionary g Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel ’s decision on transfer, see: e.g., Kantner

v. Merck & Co. Inc., No. l:04CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.q lnc., No. 4:05-cv~89 (E.D. Mo. Mar. 16, 2005);
McCrerev v. Merck & Co.. Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

Case 1:05-cv-01210-.]DT-STA Document 13 Filed 08/16/05 Page 3 of 4 Page|D 6

There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts. fn many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or Will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceedingl

The Court finds that having the jurisdictional issues decided in one proceeding vvill
promotejudicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiff resulting from a stay Would be minimal However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

F or the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

©n/MB'M

JAM ij ToDD
UNi Dsnnnsomnncrnmon

/§ O/é<g,¢/M MS/

DATE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01210 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

John R. Cannon

SHUTTLEWORTH SMITH MCNABB & WILLIAMS
200 Jefferson Ave.

Ste. 1500

Memphis7 TN 38103--002

Kim Kail

One S. Bells St
Ste 6

Alamo, TN 38301

.l ames L. &quot',Larry& Wright
JACKS LAW FIRM

111 Congress Ave.

Ste. 1010

Austin7 TX 78701

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson, TN 38303--353

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson, TN 38303--053

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

Memphis7 TN 38119

Honorable .l ames Todd
US DISTRICT COURT

